Case 2:17-cv-12179-SDW-LDW Document 16 Filed 02/13/18 Page 1 of 1 PagelD: 154

LAW OFFICES OF
ROBERT D. ARENSTEIN

691 Cedar Lane, Teaneck, New Jersey 07666
(201) 836-9648
Fax: (212) 370-5822

ROBERT D. ARENSTEIN NEW YORK OFFICE
MEMBER OF NY,, NJ., FLA, AND D.C. BARS 295 Madison Ave, 16th Fl
New York, New York 10017

(212) 679-3999
February 13, 2018

The Honorable Susan D. Wigenton:

Martin Luther King Building and U.S. Courthouse
50 Walnut Street — Room 4015ime

Newark, New Jersey 07102

GERVAL vs GONZALEZ
Civil Action No. 17-12179cv

Dear Judge Wigenton:

Your order of February 9, 2018 Document 15 sets a date of F ebruary 21,
2018 on Petitioner’s Application for Custody. The Petition is an application for Return
under the Hague Convention on Civil Aspects of International Child Abduction. This is not
a custody case.

I respectfully ask the Court to adjourn the date to the hearing to a date in
the Middle of March as I would need to get my client here from France and I am scheduled
to attend a meeting of the International Academy of Family Lawyers, American Chapter
form February 20 to February 25, 2018 in Savannah Georgia. I am on the Board of
Governors of this organization and a Delegate to The American Chapter

I would appreciate your consideration in this request.

Respectfully yours,

ron

af CV) Ll a oa

Robert D. Arenstein

es
Pf
